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                        EXHIBIT B
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                                                                                                       Jonathan E. Bachand
                                                                                             Jonathan.Bachand@knobbe.com

July 27, 2020
VIA EMAIL

Blake B. Greene
Dechert LLP
515 Congress Ave
Suite 1400
Austin, TX 78701



Re:     Par Pharmaceuticals, Inc. v. Amphastar Pharmaceuticals, Inc.
        18cv2032-CFC
        Our Reference: AMPHAL.001L

Dear Blake:

        I write on behalf of the consolidated Defendants regarding Plaintiffs’ refusal to provide a substantive
response to Defendants’ Joint Interrogatory Nos. 14-18. Defendants intend to move the Court on this issue
unless Plaintiffs agree to provide substantive responses to these interrogatories. I also write to address Plaintiffs’
contention that the underlying facts sought by Interrogatory Nos. 15 and 16 are not discoverable due to the
attorney client privilege. For the reasons discussed below, Plaintiffs’ contention is contrary to the case law.
Please let us know if you are available to meet and confer on these issues on Tuesday or Wednesday this week
as Defendants intend to seek judicial relief this week in view of the upcoming end of fact discovery.

Plaintiffs’ arguments regarding improper subparts.

Defendants’ first set of interrogatories did not contain any improper subparts.

         “Subparts are treated as part of a single interrogatory where ‘they are logically or factually subsumed
within and necessarily related to the primary question.’” Madigus Ltd. v. Endochioce, Inc., Civil Action No. 15-
505-LPS-CJB, 2016 WL 5791409 (July 19, 2016 D.Del). In its objections to Defendants’ First Set of Joint
Interrogatories 1-10, Plaintiffs objected—without any supporting explanation—to Interrogatory Nos. 1-3 and 5-8 as
containing multiple subparts that should count as multiple interrogatories. In its objections to Defendants’ Second
Set of Joint Interrogatories (Nos. 11-18), Plaintiffs stated its belief for the first time that “Defendants’ previous set
of interrogatories (numbered 1-10) contained at least, very conservatively, 15 separate subparts . . . .” Plaintiffs
are incorrect.

         Interrogatory No. 1’s primary question is to detail the “research, development, conception, and reduction
to practice of each claim of the Patents-in-Suit . . . .” The remaining information requested is subsumed within
and necessarily related to this primary question. This is a single interrogatory.

         Interrogatory No. 2’s primary question is for information related to any secondary considerations of
nonobviousness upon which Plaintiffs intend to rely. All of the information requested by this interrogatory is
related to the question of what Plaintiffs’ contentions are regarding secondary considerations and what evidence
supports those assertions. This is a single interrogatory.

        Interrogatory No. 3’s primary question is information regarding the experiments, studies, data, figures,
tables and examples described in the Patents-in-Suit. All of the information requested by this interrogatory is
necessarily related to this primary question. This is a single interrogatory.

         Interrogatory No. 5’s primary question is the earliest date and the circumstances that any claim “was
publicly disclosed, sold, offered for sale, or otherwise put in the public domain by Plaintiffs or any inventor, or any
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other person or entity . . . .” All of the information requested by this interrogatory is necessarily related to this
primary question. This is a single interrogatory.

       Interrogatory No. 6’s primary question is the details of the testing of vasopressin compositions
researched, developed, or considered by Plaintiffs . . . .” All of the information requested by this interrogatory is
necessarily related to this primary question. This is a single interrogatory.

          Interrogatory No. 7’s primary question relates to Plaintiffs’ response to Defendants’ invalidity contentions.
All of the information requested by this interrogatory is necessarily related to this primary question. This is a
single interrogatory.

        Interrogatory No. 8’s primary question is the standing of Plaintiffs to bring this lawsuit. All of the
information requested by this interrogatory is necessarily related to this primary question. This is a single
interrogatory.

Defendants’ second set of joint interrogatories did not contain any improper subparts.

         Plaintiffs contend that Interrogatory Nos. 11 and 12 each contain two subparts constituting a separate
interrogatory because they “seek[] information about two different products, PITRESSIN AND VASOSTRICT,
manufactured at different times by different companies.” Interrogatory No. 11’s primary question is the
identification of properties of vasopressin products sold by Plaintiffs or their predecessor’s in interest.
Interrogatory No. 12’s primary question is information related to the sale of vasopressin products sold by Plaintiffs
or their predecessor’s in interest. The mere fact that Plaintiffs reformulated the product at one point does not
convert a single interrogatory into multiple interrogatories. Contrary to Plaintiffs’ baseless contentions, both of
these interrogatories are a single interrogatory. Accordingly, Defendants’ request substantive responses to Joint
Interrogatories 14-18 by July 31, 2020.

Plaintiffs’ refusal to provide substantive responses indicates bad faith.

          Plaintiffs’ refusal to provide substantive answers Defendants’ Joint Interrogatory Nos. 14-18 is particularly
galling considering the defendants agreed to serve three less individual interrogatories for the ability to serve
three additional joint interrogatories. In doing so, Plaintiffs benefited by avoiding answering six additional
interrogatories. Plaintiffs attempts to benefit from Defendants’ proposal to decrease the overall burden on
Plaintiffs, while refusing to answer these additional joint interrogatories evidences bad faith and gamesmanship in
agreeing to the deal.

Plaintiffs’ additional objections to Interrogatory Nos. 15 and 16.

         The information requested in Interrogatory Nos. 15 and 16, contrary to Plaintiffs’ objections, does not
seek information protected by the attorney client privilege. These interrogatories request purely factual
information regarding whether prior art documents and/or correspondence from the FDA was sent to Prosecution
Counsel, and information regarding the date such documents were sent, who was involved in sending the
document, and the identity of all people receiving the document. This is the type of information routinely found in
a privilege log. The attorney-client privilege does not generally justify the withholding of purely factual material.
Upjohn Co. v. U.S., 449 U.S. 383, 395, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981).

        Plaintiffs’ citation to In re TQ Delta, No. 17-MC-328-RGA, 2018 WL 5033756, at *3 (D. Del. Oct. 17,
2018), supports determining these facts are not privileged. There, the court permitted third-party discovery of a
patent attorney on topics such as the identity of prior art the named inventors were aware of during the
prosecution of the patents. As stated by the court:

        [E]numerated items 3-6 appear to be both relevant and targeted at non-privileged factual
        information, rather than communications between attorney and client during patent prosecution.
        Defendants have asserted an affirmative defense that ‘[t]he patents-in-suit are unenforceable
        because [Plaintiff] or its predecessor-in-interest had an obligation to disclose them to the
        [International Telecommunication Union] in the course of the standard-setting process, [Plaintiff]
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           was aware of its disclosure obligations, and [Plaintiff] failed to disclose the relevant patents.’ The
           information sough appears to be relevant to this affirmative defense. . . . [A]s Defendants point
           out, underlying facts are not protected under the attorney client privilege.

In re TQ Delta, 2018 WL 5033756 at *3 (internal citations omitted).

        In re Spalding Sports Worldwide, Inc., also does not support Plaintiffs’ arguments. There, the court
determined that an invention record was a privileged communication. 203 F.3d 800, 805-06 (Fed. Cir. 2000).
Here, Defendants do not seek the substance of any communications, but seek the underlying facts regarding who
received certain information, when they received it, and who sent it to them. Even if the communication of these
facts was part of a communication that was protected, the underlying facts Defendants seek are not privileged.

         District Courts have repeatedly rejected patentees’ contentions that underlying facts are privileged. For
example, in Vasudevan Software, Inc. v. IBM, 09-05897 RS, 2011 WL 1599646 (N.D. Cal. Apr. 27, 2011 ) the
court rejected the idea that the disclosure of such facts would “necessarily reveal that [Plaintiff] and his attorneys
had discussions regarding specific prior art references on a specific date.” Id. at *2. The court stated “the date of
a communications and its general subject matter is information routinely disclosed in privilege logs to establish
that the content of the communication is privileged,” and ordered the Plaintiffs to “provide the actual dates upon
which each piece of prior art became known and a description of any and all circumstances by which the prior art
became known to each individual [involved in any way in the prosecution of either Patent-in-Suit].” Id. at *2-3; see
also DSM Desotech, Inc. v. 3D Sys. Corp., No. 08 C 1531, 2011 WL 117048 (N.D. Ill. Jan. 12, 2011) (determining
that information regarding whether persons involved in prosecution were aware of certain prior art discoverable
facts not protected by attorney client privilege).

         The underlying factual information Defendants seek in Interrogatory Nos. 15 and 16 is not privileged and
central to the inequitable conduct claims in this case. To the extent this information is reflected in any
communications logged by Plaintiffs on their privilege log, Plaintiffs can easily determine the non-privileged
information requested by the interrogatory. Plaintiffs’ attempts to hide facts from discovery via an assertion of the
attorney client privilege are unsupported and provide no basis to withhold relevant underlying facts from
discovery.

      Please let us know times Plaintiffs are available to meet and confer on these issues on Tuesday or
Wednesday this week.




                                                                  Sincerely,

                                                                  /s/Jonathan Bachand

                                                                  Jonathan E. Bachand


cc:        Counsel of Record


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